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                                                    #:1261



                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                     CIVIL MINUTES—GENERAL

 Case No.        SA CV 24-736-DMG (ADSx)                                                 Date     June 26, 2025

 Title Twist It Up, Inc. v. Annie International, Inc.                                                    Page     1 of 2

 Present: The Honorable             DOLLY M. GEE, CHIEF UNITED STATES DISTRICT JUDGE

             DOMINIQUE CARR                                                             NOT REPORTED
               Deputy Clerk                                                              Court Reporter

      Attorneys Present for Plaintiff(s)                                      Attorneys Present for Defendant(s)
               None Present                                                             None Present

Proceedings: [IN CHAMBERS] ORDER TO SHOW CAUSE WHY SANCTIONS
             SHOULD NOT BE IMPOSED ON RHEMA LAW GROUP PC

        On May 23, 2025, Defendant Annie International, Inc. filed a motion to strike certain
corrections Plaintiff Twist It Up, Inc. made to the deposition of its corporate representative, Noel
Durity. [Doc. # 29 (“MTX”).] Defendant asserts that the “corrections” improperly amount to
wholesale changes to Durity’s testimony to manufacture material factual disputes and evade
summary judgment. [Doc. # 29-2 at 2.] On June 6, 2025, Plaintiff filed its opposition to the MTX.
[Doc. # 36 (“Opp.”)]; see also [Doc. # 39 (“Reply”]. The MTX and a motion for summary
judgment (“MSJ”) filed by Defendant are set for hearing June 27, 2025 at 3:00 p.m.

        Review of Plaintiff’s Opposition to the Motion to Strike reveals that the author of the
Opposition appears to have relied upon artificial intelligence (“AI”) to generate portions of the
filing. The Opposition contains five citations purportedly to orders or opinions from other courts.
Two of these citations refer to non-existent legal authority, as the Court cannot locate any such
case matching the information provided by Plaintiff. See Opp. at 2, 3 (citing “Lewis v. CCPOA,
2009 WL 890585, at *4[1] (E.D. Cal. Mar. 31, 2009)” and “James v. Claussen, 2022 WL 1120273,
at *3 (C.D. Cal. Apr. 14, 2022) (denying motion to strike clarifying corrections).”). In fact, far
from “denying motion to strike clarifying corrections,” the document under Westlaw case
identifier “2022 WL 1120273” is an appellee’s brief in a criminal manslaughter action in the Court
of Appeals of the State of Texas. And a third citation, while accurate, leads to an order having
nothing to do with depositions, corrections to depositions, or the sentence it purports to support:
“[c]ourts have emphasized that unless the corrections were submitted in bad faith or solely to
defeat summary judgment, they should remain part of the record.” Opp. at 4; see Hernandez v.
Polanco Enters., Inc., 19 F. Supp. 3d 918, 931 (N.D. Cal. 2013).

          1
            The citation to Lewis may be intended to refer to Lewis v. The CCPOA Benefit Tr. Fund, No. C-08-03228-
VRW DMR, 2010 WL 3398521, at *2–*4 (N.D. Cal. Aug. 27, 2010), addressing a motion to strike deposition changes,
striking a number of those changes, but finding that on the whole, the changes did not amount to a “sham.” The
citation in the Opposition Brief, however, refers to a different Westlaw case identifier, a different court, and a different
date.

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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                     CIVIL MINUTES—GENERAL

 Case No.        SA CV 24-736-DMG (ADSx)                                               Date     June 26, 2025

 Title Twist It Up, Inc. v. Annie International, Inc.                                                  Page      2 of 2


        Citation to nonexistent legal authority and to cases that do not include the proposition for
which they are cited is improper under Federal Rule of Civil Procedure 11. Pursuant to that Rule,
attorneys who file briefs in this Court certify that the legal and factual contentions therein are not
frivolous. Fed. R. Civ. P. 11(b). Violation of this rule is an appropriate ground for sanctions after
notice and a reasonable opportunity to respond. See also Yagman v. Republic Ins., 987 F.2d 622,
628 (9th Cir. 1993) (“A violation of [Rule 11] does not require subjective bad faith.”).2 Sanctions
may be imposed on “any attorney, law firm, or party” that violated the rule, although “[a]bsent
exceptional circumstances,” a law firm must be held jointly responsible for its attorney’s
misconduct. Fed. R. Civ. P. 11(c)(1). The Court may sua sponte impose monetary sanctions if it
issues a show cause order under Rule 11(c)(3) “before voluntary dismissal or settlement of the
claims made by or against the party that is, or whose attorneys are, to be sanctioned.” Fed. R. Civ.
P. 11(c)(5); see also Doc. # 35, Flowz Digital LLC v. Caroline Dalal, et al., CV 25-709-SB (PVCx)
(C.D. Cal. May 30, 2025) (imposing $3,500 in sanctions payable by an attorney who admitted he
used AI to prepare a brief that cited irrelevant and nonexistent cases).

       The Court accordingly ORDERS attorney John D. Tran—and any other attorney
responsible for the portions of the Opposition discussed herein—to appear personally at the MSJ
hearing set for June 27, 2025 at 3:00 p.m. The attorney(s) shall be prepared to address the Court’s
concerns regarding the use of AI in the Opposition, including disclosing whether AI was used and
why counsel did not independently check the citations before filing the Opposition. The
attorney(s) shall further be prepared to address why the Court should not impose monetary
sanctions to be paid by Rhema Law Group PC and refer the attorney to the Court’s Standing
Committee on Discipline.

IT IS SO ORDERED.




         2
          A court also has the inherent authority to levy sanctions against a party or attorney for, inter alia, acting in
“bad faith” or for otherwise “willfully abus[ing] judicial processes.” Roadway Express, Inc. v. Piper, 447 U.S. 752,
766 (1980).

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